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 7

 8                                UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10

11   JANE DOE,                       )                    Case No.:4:21-cv-1392 JST
                                     )
12              Plaintiff,           )                    STIPULATION TO DISMISS ENTIRE
                                     )                    ACTION WITH PREJUDICE;
13   v.                              )                    [PROPOSED] ORDER
                                     )
14   LIFE INSURANCE COMPANY OF NORTH )
     AMERICA,                        )
15                                   )
                Defendant.           )
16                                   )
17
            IT IS HEREBY STIPULATED, by and between Plaintiff JANE DOE and Defendant LIFE
18
     INSURANCE COMPANY OF NORTH AMERICA, (collectively, the “Parties”) by and through
19
     their respective attorneys of record, that this action shall be dismissed in its entirety with prejudice
20   as to all Defendants pursuant to Rule 41(a) of the Federal Rules of Civil Procedure. Each Party
21   shall bear its own attorneys’ fees and costs.
22
            IT IS SO STIPULATED.
23
     ///
24
      CASE NO. 4:21-cv-1392 JST                             1                          STIPULATION TO DISMISS
25                                                                                         ENTIRE ACTION WITH
                                                                                  PREJUDICE; [PROPOSED] ORDER
               Case 4:21-cv-01392-JST Document 22 Filed 10/04/21 Page 2 of 2




 1   Dated: September 30, 2021
                                                          BOLT KEENLEY KIM LLP
 2

 3                                                   By: /s/ Brian H. Kim
                                                        Brian H. Kim
 4                                                      Attorneys for Plaintiff
 5   Dated: September 30, 2021
                                                          MAYNARD, COOPER & GALE, LLP
 6
                                                     By: /s/ Cindy M. Rucker
 7
                                                        Cindy M. Rucker
 8                                                      Attorneys for Defendant Life Insurance
                                                        Company of North America
 9

10                                       [PROPOSED] ORDER
11          Based upon the Stipulation of the Parties and for good cause shown, IT IS HEREBY
12   ORDERED that this action, Case No. No. 4:21-cv-1392 JST, is dismissed in its entirety as to all

13   defendants, with prejudice.

14          IT IS HEREBY FURTHER ORDERED that all dates previously set in this matter are

15   hereby vacated and taken off the Court’s calendar.

            IT IS HEREBY FURTHER ORDERED that each Party shall bear its own attorneys’ fees
16
     and costs in this matter.
17
            IT IS SO ORDERED.
18

19
              October 4, 2021
     Dated: ___________________
20                                               Hon. Jon S. Tigar
                                                 United States District Court Judge
21

22

23

24
      CASE NO. 4:21-cv-1392 JST                           2                      STIPULATION TO DISMISS
25                                                                                   ENTIRE ACTION WITH
                                                                            PREJUDICE; [PROPOSED] ORDER
